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                    EXHIBIT B
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      RETAIL


      CVS closing down clinical
      trials business after 2
      years
      By Paige Minemyer May 15, 2023 03:20pm

         CVS        clinical trial         MinuteClinic       Pharmacies




      Clinical trials were a major topic of conversation nationally at the height of the COVID-19 pandemic as
      new vaccines and therapies to treat the virus. (CVS)

      CVS Health is closing down its clinical trials arm just two years after its launch, a
      company spokesperson confirmed to Fierce Healthcare.

      The spokesperson said the healthcare giant routinely reviews its portfolio to ensure its
      assets are "aligned with our long-term strategic priorities." The company will wind down
      Clinical Trial Services in "a phased way" and expects a full exit by Dec. 31, 2024.

      "In parallel, we’re working to support impacted colleagues, and will provide career
      transition support for those unable to find another role within CVS Health," the
      spokesperson said.

      CVS unveiled Clinical Trial Services in May 2021 in a bid to drive greater participation in
      clinical trials (https://www.fiercehealthcare.com/tech/cvs-health-launching-new-
      business-arm-to-drive-greater-clinical-trial-participation), as Fierce Healthcare
      previously reported. The unit's leadership at the time said the work built upon CVS'
      existing relationship with drugmakers and its efforts to build community relationships.

      Clinical trials were a major topic of conversation nationally at the height of the COVID-
      19 pandemic as new vaccines and therapies emerged to treat the virus. It also put a
      spotlight on the lack of diversity historically in clinical trials, as people of color were
      disproportionately impacted by the pandemic but tend to be underrepresented in drug
      trials.

      In February 2022, CVS announced it would team with Medable to further build on
      (https://www.fiercehealthcare.com/retail/cvs-teams-medable-expand-access-clinical-
      trials) the clinical trials business at its MinuteClinics.

      Rival companies Walgreens (https://www.fiercehealthcare.com/providers/pharmacy-
      retail-giant-walgreens-looks-disrupt-clinical-trials-business-it-builds) and Walmart
      launched (https://www.fiercehealthcare.com/providers/pharmacy-retail-giant-
      walgreens-looks-disrupt-clinical-trials-business-it-builds) clinical-trials-focused
      businesses in 2022.

      CVS is in the midst of bringing two key acquisitions into the fold: Signify Health and Oak
      Street Health. The company said on its earnings call earlier this month that these two
      companies are critical in its aspirations                                    In order to deliver a personalized and enhanced site navigation, we stor
      (https://www.fiercehealthcare.com/providers/pharmacy-retail-giant-walgreens-looks-
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      disrupt-clinical-trials-business-it-builds) in the primary care space.
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